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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

GABRIELLE LYONS,                                     §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                  6:17-CV-232-RP
                                                     §
BAYLOR UNIVERSITY,                                   §
                                                     §
                Defendant.                           §
                                                     §

                                                ORDER

        Before the Court are Defendant Baylor University’s (“Baylor” or “the University”) Motion

to Dismiss, (Dkt. 4); Plaintiff Gabrielle Lyons’s (“Lyons”) Response and Alternative Motion for

Leave to File a First Amended Complaint, (Dkt. 6); and Defendant’s Reply, (Dkt. 10). Counsel for

the plaintiff should be well aware of the pleading standards in federal court. The complaint falls

below that standard. As a result of its minimal level of detail, this Court has spent considerable time

reviewing the complaint and pending motion. Having done so, the Court enters the following order.

                                         I. BACKGROUND

        Lyons is a former investigator for the Title IX Office at Baylor University. (Compl., Dkt. 1).

Lyons alleges that during her employment, Baylor intentionally discriminated against female students

and female staff at the Title IX office by maintaining a workplace hostile to women, obstructing

Lyons’ efforts to conduct Title IX investigations, and creating a hostile work environment that

resulted in her constructive discharge. (Id. ¶¶ 14–30). She alleges that Baylor constructively

discharged her because she opposed Baylor’s practices that violated 20 U.S.C. § 1681, et. seq. (“Title

IX”) and 42 U.S.C. § 2000e, et. seq. (“Title VII”). (Id. ¶ 11).

        Lyons makes the following allegations in her Complaint. Lyons began working in the Title

IX Office on or about April 1, 2015. (Id. ¶ 15). She alleges that “Baylor knew of the violent culture
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on its campus, but took calculated steps to hide the allegations and protect its brand, to the

detriment of its female students and the Title IX employees who were supposed to investigate and

protect students from assault and discrimination.” (Id. ¶ 17). Lyons alleges that “Baylor’s deliberate

opposition to following Title IX and intentional retaliation against Plaintiff and others . . . for trying

to get Baylor to comply . . . were designed to create and did create a tense, pervasive[,] and hostile

work environment” intended to cause Lyons to resign. (Id. ¶ 12). Specifically, she states that Baylor

did not give the Title IX Office “sufficient resources to do its work” even after Patty Crawford, the

Title IX coordinator and Lyons’s supervisor, “notified Baylor repeatedly that the office needed more

investigators and more resources.” (Id. ¶ 19). Lyons also contends that Baylor “repeatedly failed to

give [her] access to athletes” who allegedly committed or witnessed sexual harassment or assault. (Id.

¶ 19). Instead, “[w]hen football athletes were involved [in an investigation], the Title IX office had to

go through [Athletic Director] Ian McCaw” or another athletic department “gatekeeper.” (Id. ¶¶ 19–

20). She alleges there was no such gatekeeping for investigations of female athletes or non-athlete

students. (Id. ¶¶ 20–21). For example, Lyons alleges that Colin Shillinglaw, a former athletics

department employee, “would not schedule meetings [Lyons] requested with the star football

player” who was allegedly witness to an assault and then “gave [Lyons] a bad cell number” for him.

(Id. ¶ 22). When Lyons “repeatedly requested a good phone number,” Shillinglaw “claimed he did

not have the number.” (Id.).

        Lyons asserts that a “sexist mind-set pervaded the culture at Baylor” and that it “negatively

affected the female staff,” including herself. (Id. ¶ 23). She alleges that she “spoke out, reported and

complained about the discrimination,” but when she “reported Baylor’s illegal practices,” she was

“subjected to intimidation and retaliation.” (Id. ¶ 25). As a result, Lyons contends she was “subjected

to a hostile and retaliatory work environment” where the conditions were “so adverse and pervasive

that a reasonable person would not continue to subject themselves to the situation.” (Id. ¶ 26). She


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alleges that “other employees” in the Title IX Office “felt compelled and forced to resign and did

resign.” (Id.).

         “Given Baylor’s continued illegal Title IX practices, and retaliation against [Lyons],” she

alleges that she “could not continue working for an employer who actively discriminated against

females” and “retaliated against [her] for reporting discrimination.” (Id. ¶ 27). Lyons alleges she was

“constructively discharged” on or about November 1, 2015. (Id.). She “resigned because Baylor

thwarted implementation and enforcement to wrongfully protect Baylor football players and the

Baylor brand.” (Id. ¶ 30). She then filed an anonymous Title IX Complaint with the Office of Civil

Rights at the Department of Education on April 27, 2016. (Id. ¶¶ 13, 28).

         Based on these allegations, Plaintiff asserts claims of retaliation under Title IX, sex

discrimination and retaliation under Title VII, and claims under Texas state law for negligent

investigation and gross negligence.

         Baylor filed a motion to dismiss Lyons’s complaint for failure to state a claim. (Mot. Dismiss,

Dkt. 4). Lyons filed a response, which requested leave to amend her complaint. (Resp., Dkt. 6, at

15). The Court will consider each motion in turn.

                                      II. MOTION TO DISMISS

                                             A. Legal Standard

         Pursuant to Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a 12(b)(6) motion, a “court accepts

‘all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re Katrina

Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dall. Area

Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). “To survive a Rule 12(b)(6) motion to dismiss, a

complaint ‘does not need detailed factual allegations,’ but must provide the [plaintiffs’] grounds for

entitlement to relief—including factual allegations that when assumed to be true ‘raise a right to


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relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). That is, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

         A claim has facial plausibility “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. “The

tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Generally, a court ruling on a 12(b)(6) motion may rely

on the complaint, its proper attachments, “documents incorporated into the complaint by reference,

and matters of which a court may take judicial notice.” Dorsey v. Portfolio Equities, Inc., 540 F.3d 333,

338 (5th Cir. 2008) (citations and internal quotation marks omitted). Because the court reviews only

the well-pleaded facts in the complaint, it may not consider new factual allegations made outside the

complaint. Id. “[A] motion to dismiss under 12(b)(6) ‘is viewed with disfavor and is rarely granted.’”

Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011) (quoting Harrington v. State Farm Fire & Cas. Co.,

563 F.3d 141, 147 (5th Cir. 2009)).

                                                   B. Discussion

                                               1. Title IX Claims

         The Court first considers Lyons’s Title IX claim, to the extent that she asserts one.1 Title IX

of the Education Amendments of 1972 prohibits discrimination on the basis of sex in all federally-

funded educational programs. 20 U.S.C. § 1681(a). Specifically, it provides:


1Although Lyons does not identify a Title IX claim in her listed causes of action, (see Compl., Dkt. 1, ¶¶ 34–
47), she states that “[t]his is a Title IX retaliation case” in her background discussion, (id. ¶ 11), and references
Title IX in her statement of facts, (id. ¶ 25), and statement of legal principles, (id. ¶ 33 (citing Jackson v.
Birmingham Board of Education, 544 U.S. 167, 176-77 (2005)). As requested by Baylor, the Court therefore
considers Lyons’ Title IX claim “to the extent she asserts one.” (Mot. Dismiss, Dkt. 4, at 7).

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               No person in the United States shall, on the basis of sex, be excluded from
               participation in, be denied the benefits of, or be subjected to discrimination
               under any education program or activity receiving Federal financial
               assistance.

Id. Title IX is enforceable through an individual’s private right of action and allows for the recovery

of damages. See Franklin v. Gwinnett Cty. Pub. Sch., 503 U.S. 60, 76 (1992); Cannon v. Univ. of Chi., 441

U.S. 677, 717 (1979). Title IX “encompasses intentional sex discrimination in the form of a

recipient’s deliberate indifference to sexual harassment of a student . . . by another student.”

Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 174 (2005) (citing Davis v. Monroe Cty. Bd. of Ed., 526

U.S. 629, 642 (1999)).

           “[E]mployees of federally funded educational institutions who raise complaints, or

participate in investigations, concerning compliance with the substantive provisions of title IX are

protected from retaliation . . . and enjoy an implied private right of action for money damages to

vindicate their rights.”2 Lowrey v. Tex. A & M Univ. Sys., 117 F.3d 242, 254 (5th Cir. 1997); see also

Jackson, 544 U.S. at 173–74 (“Retaliation against a person because that person has complained of sex

discrimination is another form of intentional sex discrimination encompassed by Title IX’s private

cause of action . . . Retaliation is, by definition, an intentional act. It is a form of ‘discrimination’

because the complainant is being subjected to differential treatment.”).

           “The language of the anti-retaliation provision of Title IX and that of Title VII are similar

and ‘should be accorded a similar interpretation.’” Collins v. Jackson Pub. Sch. Dist., 609 F. App’x 792,

795 (5th Cir. 2015) (quoting Lowrey, 117 F.3d at 252 n.18 (5th Cir. 1997)). Accordingly, to establish a

prima facie case of retaliation under Title IX, “a plaintiff must show that: (1) he engaged in a

protected activity, (2) he suffered an adverse employment action, and (3) a causal connection exists

between the protected activity and the adverse employment action.” Id. (citing Willis v. Cleco Corp.,


2   Title IX “affords no private cause of action for employment discrimination.” Lowrey, 117 F.3d at 254.

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749 F.3d 314, 317 (5th Cir. 2014)). Resignation is an adverse employment action actionable under

Title VII “only if the resignation qualifies as a constructive discharge.” Brown v. Kinney Shoe Corp., 237

F.3d 556, 566 (5th Cir. 2001). To prove a constructive discharge, a plaintiff “must establish that

working conditions were so intolerable that a reasonable employee would feel compelled to resign.”

Id. (quoting Faruki v. Parsons, 123 F.3d 315, 319 (5th Cir. 1997)). In determining whether a

reasonable employee would feel compelled to resign, the Fifth Circuit has considered “the relevancy

of the following events”:

        (1) demotion; (2) reduction in salary; (3) reduction in job responsibilities; (4)
        reassignment to menial or degrading work; (5) reassignment to work under a
        younger supervisor; (6) badgering, harassment, or humiliation by the employer
        calculated to encourage the employee’s resignation; or (7) offers of early
        retirement or continued employment on terms less favorable than the employee’s
        former status . . .

Id. (quoting Barrow v. New Orleans Steamship Ass’n, 10 F.3d 292, 297 (5th Cir. 1994) (cleaned up)).

        Lyons raises serious allegations, but she fails to support her Title IX claim with specific facts.

Lyons’s Complaint is largely composed of conclusory statements. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Ashcroft,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). Regarding her alleged protected activity, Lyons

only states that she “protested to Baylor’s administration that Baylor’s unlawful employment

practices and Baylor’s resistance to complying with its Title IX obligations,” and that she “spoke out,

reported and complained about the discrimination.” (Compl., Dkt. 1, ¶ 25). Lyons does not allege

when, how, or to whom she complained of sex discrimination. She does not identify any specific

communication or interactions through which she raised her concerns. Regarding an adverse

employment action, Lyons alleges that Baylor created a “hostile, pervasive, and intimidating

environment” in which “no reasonable person would have continued to work,” which resulted in

Plaintiff’s constructive discharge. (Id. at 9, ¶ 36). However, this is essentially a restatement of the

standard for constructive dismissal. See Lauderdale v. Tex. Dep’t of Criminal Justice, Institutional Div., 512
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F.3d 157, 167 (5th Cir. 2007) (quoting Brown, 237 F.3d at 566) (“[A] plaintiff must establish that

working conditions were so intolerable that a reasonable employee would feel compelled to

resign.”). Lyons does not specify specific facts or interactions to illustrate any of the “events” the

Fifth Circuit has found relevant to a constructive dismissal, such as assignment to menial work or

specific instances of harassment or humiliation. See Brown, 237 F.3d at 566 (quoting Barrow, 10 F.3d

at 297). Lyons’s assertion that “Baylor engaged in a pattern and practice that was intentionally

discriminatory towards a class, female students and the Title IX female staff, including Plaintiff,”

(Compl., Dkt. 1, ¶ 25), similarly lacks any specific facts. Lyons does specifically allege that Baylor

denied the Title IX office important funding, (id. ¶ 19), and that Athletics Department staff

repeatedly failed to provide contact information for certain football players involved in Title IX

investigations, (id. ¶ 22). While these alleged facts may be relevant to showing that working

conditions were intolerable enough to compel Lyons’ resignation, see Brown, 237 F.3d at 566, Lyons

fails to plead any other specific facts from which the Court could draw a reasonable inference that

Baylor plausibly retaliated against her for raising concerns about the University’s Title IX

compliance.

        Because Lyons alleges no specific facts to establish that she complained of sex

discrimination, or that a causal connection existed between her complaints and the alleged

constructive dismissal, the Court finds that Lyons’s complaint fails to state a claim under Title IX.

The Court will therefore dismiss that claim without prejudice.

                              2. Title VII — Sex Discrimination Claims

        Title VII makes it unlawful for an employer “to discharge any individual, or otherwise to

discriminate against any individual with respect to his compensation, terms, conditions, or privileges

of employment, because of such individual’s . . . sex.” 42 U.S.C. § 2000e-2. In an action under Title

VII, “a plaintiff need not make out a prima facie case of discrimination in order to survive a Rule


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12(b)(6) motion to dismiss for failure to state a claim.” Raj v. Louisiana State Univ., 714 F.3d 322, 331

(5th Cir. 2013). At this stage, although Lyons need not “make a showing of each prong of the prima

facie test,” id., she must “allege facts sufficient to state all the elements of her claim.” Stone v.

Louisiana Dep’t of Revenue, 590 F. App’x 332, 339 (5th Cir. 2014) (quoting Mitchell v. Crescent River Port

Pilots Ass’n, 265 Fed. App’x. 363, 370 (5th Cir. 2008)). To make a prima facie case of discrimination

under Title VII, a plaintiff must show “that she (1) is a member of a protected class; (2) was

qualified for her position; (3) was subject to an adverse employment action; and (4) was replaced by

someone outside the protected class, or, in the case of disparate treatment, shows that others

similarly situated were treated more favorably.” Outley v. Luke & Assocs., Inc., 840 F.3d 212, 216 (5th

Cir. 2016) (quoting Okoye v. Univ. of Tex. Hous. Health Sci. Ctr., 245 F.3d 507, 512–13 (5th Cir. 2001)).

        Lyons has failed to allege facts sufficient to state the third or fourth element of a Title VII

discrimination claim. As discussed above, Lyons has not alleged specific facts to support her claim

for constructive dismissal. See supra, Section II(B)(1). Additionally, Lyons alleged no facts indicating

that she was either replaced by someone outside of her protected class, or, in the case of disparate

treatment, “that others similarly situated were treated more favorably.” See Outley, 840 F.3d at 216.

Although she alleges that a “sexist mind-set pervaded the culture at Baylor” and that it “negatively

affected the female staff,” including herself, (Compl., Dkt. 1, ¶ 23), Lyons alleges no specific facts

from her employment to support this statement, other than describing the difficulty of conducting

certain investigations. “[C]onclusory allegations or legal conclusions masquerading as factual

conclusions will not suffice to prevent a motion to dismiss.” Rios v. City of Del Rio, Tex., 444 F.3d

417, 421 (5th Cir. 2006). As pled, Lyons’s conclusory allegations do not raise a right to relief above a

speculative level. The Court therefore finds that Plaintiff’s Complaint fails to state a sex

discrimination claim under Title VII and will dismiss that claim without prejudice.




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                                  3. Title VII — Retaliation Claims

    Lyons also alleges that Baylor constructively discharged her “because of her gender, female, in

violation of Title VII.” (Compl., Dkt. 1, ¶ 36). Because the Fifth Circuit applies the same test for

retaliation under Title IX and Title VII, the Court will dismiss Lyon’s Title VII retaliation claims for

the same reasons it dismisses her Title IX claims above. See supra, Section II(B)(1); Collins, 609 F.

App’x at 795 (quoting Lowrey, 117 F.3d at 252 n.18 (5th Cir. 1997)) (“The language of the anti-

retaliation provision of Title IX and that of Title VII are similar and ‘should be accorded a similar

interpretation.’”).

                                         4. State Law Claims

        Lyons also alleges claims under Texas law for negligent investigation and gross negligence.

Before the Court considers the merits of her state law claims, the Court must consider whether

federal law preempts them.

                                a. Federal Preemption of State Law Claims

        Baylor contends that Title VII and Title XI preempt Lyons’s negligence claims because,

“[w]here the gravamen of a claim is discrimination or retaliation under Title VII, that statute

forecloses and preempts common-law theories predicated on the same underlying facts.” (Mot.

Dismiss, Dkt. 4, at 7–9 (citing Vaghtshenas v. IBM, No. 4:16-CV-00179-ALM-CAN, 2017 U.S. Dist.

LEXIS 30290, at *10-13 (E.D. Tex. Feb. 8, 2017); Howe v. Yellowbook USA, 840 F. Supp. 2d 970,

979-80 (N.D. Tex. 2011); Waffle House, Inc. v. Williams, 313 S.W.3d 796, 802–03 (Tex. 2010)).

        Baylor’s cited cases do not compel a finding that Title VII or Title IX preempt Lyons’s

negligence claims. In Waffle House, the Texas Supreme Court held that “[w]here the gravamen of a

plaintiff’s [sexual harassment] case is TCHRA-covered harassment, the [TCHRA] forecloses

common-law theories predicated on the same underlying sexual-harassment facts.” B.C. v. Steak N

Shake Operations, Inc., 512 S.W.3d 276, 282 (Tex. 2017) (quoting Waffle House, 313 S.W.3d at 813); see


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also Tex. Labor Code Ann. § 21.051 (“Texas Commission on Human Rights Act” or “TCHRA”)).

Baylor cites decisions from federal courts that have interpreted Waffle House to suggest that, like the

TCHRA, Title VII presents a statutory scheme that preempts common law remedies. See, e.g., Howe,

840 F. Supp. 2d at 979-980 (dismissing intentional infliction of emotional distress claims because

they relied on the same facts as the plaintiff’s Title VII claims); Vaghtshenas, 2017 U.S. Dist. LEXIS

30290, *12 (“[T]he TCHRA and Title VII preempt common law claims based on the same set of

facts as those supporting the statutory claims (whether or not plaintiff asserts those statutory

claims).”). But these cases directly contradict Supreme Court precedent. “It is well-established that

Title VII does not preempt state common law remedies.” Int’l Union, United Auto., Aerospace & Agr.

Implement Workers of Am., UAW v. Johnson Controls, Inc., 499 U.S. 187, 214 n.2 (1991) (quoting Bernstein

v. Aetna Life & Cas., 843 F.2d 359, 364 (9th Cir. 1988); see also 42 U.S.C. § 2000e-7 (“Title VII does

not exempt liability, duty, penalty, or punishment provided by state law.”).

        While the TCHRA may foreclose most common law negligence actions for workplace sexual

harassment, Texas courts’ construction of the TCHRA does not automatically extend to federal

courts’ construction of Title VII.3 Thus, the Court rejects Baylor’s argument that Title VII and Title

IX preempt Lyons’s negligence claims.

                                   b. Legal Standard for State Law Claims

        The Court next considers whether Lyons states a plausible claim for relief on either of her

common law negligence theories. The Court’s jurisdiction over Lyons’ state law claims is

supplemental to its federal question jurisdiction.4 28 U.S.C. § 1367(a). A federal court exercising


3Additionally, the Court is not aware of any Texas court holding that Title VII preempts a common law
negligence claim for sexual harassment against an employer.
4Because the Court will dismiss Lyon’s Title IX and Title VII claims with this Order, the Court has discretion
whether to retain jurisdiction over any remaining state law claims. “A district court’s decision whether to
exercise [supplemental] jurisdiction after dismissing every claim over which it had original jurisdiction is
purely discretionary.” Carlsbad Tech., Inc. v. HIF Bio, Inc., 556 U.S. 635, 639–40 (2009); see also 28 U.S.C. §
1367(c) (“The district courts may decline to exercise supplemental jurisdiction over a claim . . . if . . . the

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supplemental jurisdiction over state law claims must apply the substantive law of the state in which it

sits. Sommers Drug Stores Co. Empl. Profit Sharing Tr., 883 F.2d 345, 353 (5th Cir. 1989) (citing Erie R.R.

v. Tompkins, 304 U.S. 64, 58 (1938)). As a result, this Court must apply Texas law to Plaintiff’s state

law claims. In resolving issues of Texas state law, federal courts look to decisions of the Texas

Supreme Court. Hux v. S. Methodist Univ., 819 F.3d 776, 780 (5th Cir. 2016). If that court has not

ruled on the issue, the federal court must make what is known as an “Erie guess”—that is, it must

predict what the Texas Supreme Court would do if faced with the facts currently before the federal

court. Id. Generally, absent a decision by Supreme Court of Texas, state intermediate courts’

decisions are the strongest indicator of what a state supreme court would do. Id. at 780–81.

         In Texas negligence law, liability “is premised on duty, a breach of which proximately causes

injuries, and damages resulting from that breach.” Thapar v. Zezulka, 994 S.W.2d 635, 637 (Tex.

1999). Whether a legal duty exists is therefore a threshold question; if there is no duty, there can be

no liability. Id.

                                            c. Negligent Investigation

         Lyons alleges that Baylor owed a duty to her and to female students at Baylor “to exercise

reasonably prudent and ordinary care in the care, treatment and protection of [Baylor’s] female

students and female employees in the Title IX office.” (Compl., Dkt. 1, ¶ 43). She alleges that Baylor

was negligent by failing to properly investigate Lyons’s complaint that Baylor was “discriminating

against women and not enforcing Title IX,” and by failing to act as a reasonably prudent person

would have under the same or similar circumstances. (Id.)




district court has dismissed all claims over which it has original jurisdiction.”); Osborn v. Haley, 549 U.S. 225,
245 (2007) (“Even if only state-law claims remained after resolution of the federal question, the District Court
would have discretion, consistent with Article III, to retain jurisdiction.”). The Court will exercise that
discretion in evaluating whether Lyons has stated a plausible claim for relief under her state law causes of
action.

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        “No common-law tort of ‘negligent investigation,’ however, has ever been recognized by

Texas courts.” Balderrama v. Pride Indus., Inc., 963 F. Supp. 2d 646, 666 (W.D. Tex. 2013) (citing Tex.

Farm Bureau Mut. Ins. Companies v. Sears, 84 S.W.3d 604, 607 (Tex. 2002)). The Court therefore finds

that Lyons has failed to state a negligent investigation claim. Because no such claim exists under

Texas law, the Court will dismiss this claim with prejudice.

                                        d. Gross Negligence Claim

        Finally, Lyons alleges that Baylor was grossly negligent by “failing to ensure that the Title IX

office was protected by retaliation,” and “failing to act as a reasonably prudent person would have

under the same or similar circumstances.” (Compl., Dkt. 1, at 11). Baylor contends that “Lyons fails

to include any facts to support [these] allegations.” (Mot. Dismiss, Dkt. 4, at 10). The Court agrees.

Because Lyons has not pleaded any facts that would support her claim that retaliation occurred, or

specifying how Baylor breached an alleged duty to Lyons, the Court finds Plaintiff has failed to state

a gross negligence claim.

              III. MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        In her response to Defendant’s motion to dismiss, Plaintiff filed an alternative motion for

leave to amend her complaint, (Dkt. 6, at 15). However, Plaintiff did not attach a proposed amended

complaint as required under Local Rules. W.D. Tex. Loc. R. CV-7(b) (“When a motion for leave to

file a pleading, motion, or other submission is required, an executed copy of the proposed pleading,

motion, or other submission shall be filed as an exhibit to the motion for leave.”).

        Baylor argues that Plaintiff’s motion for leave to file a first amended complaint should be

denied because any amendment would be futile. (Reply, Dkt. 10, at 9). Baylor contends that her

complaint “contains only conclusory allegations” and she had “given no indication . . . as to what

she could possibly allege that would save her claims.” (Id.).




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                                            A. Legal Standard

        The Federal Rules of Civil Procedure permit a party to amend its pleading “once as a matter

of course,” but afterwards “only with the opposing party’s written consent or the court’s leave.”

Fed. R. Civ. P. 15(a)(1)–(2). “The court should freely give leave when justice so requires.” Fed. R.

Civ. P. 15(2). Rule 15(a) “requires the trial court to grant leave to amend freely, and the language of

this rule evinces a bias in favor of granting leave to amend.” Lyn–Lea Travel Corp. v. Am. Airlines, 283

F.3d 282, 286 (5th Cir. 2002) (citation and internal quotation marks omitted). “[A]bsent a

‘substantial reason’ such as undue delay, bad faith, dilatory motive, repeated failures to cure

deficiencies, or undue prejudice to the opposing party, ‘the discretion of the district court is not

broad enough to permit denial.’” Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d 420, 425 (5th Cir.

2004) (quoting Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981)).

        In deciding whether to grant leave to file an amended pleading, a district court may consider

factors such as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure

to cure deficiencies by amendments previously allowed, undue prejudice to the opposing party, and

futility of amendment. Foman v. Davis, 371 U.S. 178, 182 (1962). In assessing futility of amendment,

the Court should consider whether the proposed amendment could survive a motion to dismiss.

Stripling v. Jordan Prod. Co., LLC, 234 F.3d 863, 873 (5th Cir. 2000) (“[W]e join our sister circuits that

have interpreted [futility] to mean that the amended complaint would fail to state a claim upon

which relief could be granted.”).

                                               B. Discussion

        The Fifth Circuit has narrowly limited a district court’s discretion to deny a motion for leave

to amend a complaint. “[A]bsent a ‘substantial reason’ such as undue delay, bad faith, dilatory

motive, repeated failures to cure deficiencies, or undue prejudice to the opposing party, ‘the

discretion of the district court is not broad enough to permit denial.’” Mayeaux, 376 F.3d at 425


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(quoting Dussouy, 660 F.2d at 598). Based on the parties’ submissions and the record before the

Court, the Court finds that there is no evidence of undue delay, bad faith, dilatory motive, or

repeated failures to cure deficiencies. The Court further finds that Baylor is not in danger of

suffering undue prejudice at this stage of the case, because an amended complaint would merely

require Baylor to re-brief certain issues in light of new facts and legal arguments.

        However, in this instance, Lyons has not complied with the filing requirements to seek leave

to file an amended complaint. Plaintiff did not attach a proposed amended complaint to her motion

for leave. W.D. Tex. Loc. R. CV-7(b) (“When a motion for leave to file a pleading, motion, or other

submission is required, an executed copy of the proposed pleading, motion, or other submission

shall be filed as an exhibit to the motion for leave.”). Because Plaintiff has not filed a proposed

amended complaint, any analysis of futility is currently hypothetical. Accordingly, the Court will

consider Plaintiff’s motion for leave to amend the complaint if Plaintiff seeks leave in compliance

with the Local Rules, by timely motion.

                                          IV. CONCLUSION

        For the reasons stated herein, IT IS ORDERED that Baylor’s motion to dismiss for failure

to state a claim, (Dkt. 4), is GRANTED.

        Lyons’s negligent investigation claim is DISMISSED WITH PREJUDICE. All other

claims are DISMISSED WITHOUT PREJUDICE.

        IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to File Amended

Complaint, (Dkt. 6), is DENIED WITHOUT PREJUDICE. Lyons may seek leave to file an

amended complaint in compliance with W.D. Tex. Loc. R. CV-7(b) on or before February 27, 2019.

         SIGNED on January 16, 2019.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
                                                   14
